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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


 MONICA PLACK, et al.,                         )        CASE NO. 5:20-cv-1160
                                               )
                            PLAINTIFF,         )        JUDGE SARA LIOI
                                               )
 vs.                                           )        ORDER
                                               )
 PERRY TOWNSHIP, OHIO,                         )
                                               )
                        DEFENDANT.             )


        The parties in this case reached an agreement to resolve this matter and have filed a

stipulated notice of dismissal with prejudice pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii). As

part of their resolution of this matter, the parties further stipulate that the Stipulation of Partial

Settlement and Consent Order for Injunctive Relief (Doc. No. 16) entered by the Court on September

21, 2020, shall remain in full force and effect in its entirety for a period of three (3) years from that

date. (Doc. No. 37.)

        Accordingly, the Stipulation of Partial Settlement and Consent Order for Injunctive Relief

(Doc. No. 16) entered by the Court on September 21, 2020, shall remain in full force and effect in its

entirety until September 21, 2023. Pursuant to the parties’ Rule 41 stipulation of dismissal, the Clerk

shall terminate the case.

        IT IS SO ORDERED.


 Dated: June 10, 2021
                                                   HONORABLE SARA LIOI
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                                 UNITED STATES DISTRICT JUDGE




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